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                 Exhibit 5
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   12 Attorneys for Defendant
      Feras Antoon
   13                     UNITED STATES DISTRICT COURT
   14              FOR THE CENTRAL DISTRICT OF CALIFORNIA
   15
        SERENA FLEITES,
   16                                                Case No. 21-cv-04920-CJC-ADS
                   Plaintiff,
   17        v.
   18   MINDGEEK S.A.R.L., a foreign entity;
        MG FREESITES, LTD., a foreign entity;
   19   MINDGEEK USA INCORPORATED, a
        Delaware corporation; MG PREMIUM
   20   LTD, a foreign entity; MG GLOBAL
        ENTERTAINMENT INC., a Delaware
   21   corporation, 9219-1568 Quebec, Inc.
        (d/b/a MindGeek), a foreign entity;
   22   BERND BERGMAIR, a foreign
        individual; FERAS ANTOON, a foreign
   23   individual; DAVID TASSILLO, a foreign
        individual; COREY URMAN, a foreign
   24   individual; VISA INC., a Delaware
        corporation; COLBECK CAPITAL
   25   DOES 1-5; and BERGMAIR DOES 1-5,
   26              Defendants.
   27    DEFENDANT FERAS ANTOON’S RESPONSES AND OBJECTIONS TO
   28    PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
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    1        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and
    2 Local Rule 34-2 of this Court, Defendant Feras Antoon, by and through his

    3 attorneys, Cohen & Gresser LLP and Weichert, Munk & Goldstein, PC, hereby

    4 provides his responses and objections to Plaintiff’s First Request for the Production

    5 of Documents (the “Requests” and each individually a “Request”) and states:

    6                              GENERAL OBJECTIONS
    7        1.     In an order dated July 29, 2022 (ECF No. 167 (the “July 29 Order”)),
    8 the Court granted Plaintiff Serena Fleites’s request to conduct jurisdictional

    9 discovery, noting “[a] court may permit discovery to aid in determining whether it

   10 has personal jurisdiction.” Id. at 6 (citation omitted). Mr. Antoon accordingly

   11 objects to each of the Requests to the extent that they exceed the scope of

   12 jurisdictional discovery targeted at determining Mr. Antoon’s suit-related forum

   13 contacts.

   14        2.     Mr. Antoon objects to each Request that seeks to impose an undue
   15 burden on Mr. Antoon, including but not limited to any burden or obligation

   16 beyond those set forth in the applicable Federal Rules of Civil Procedure or the

   17 Local Rules of this Court.

   18        3.     Mr. Antoon objects to each Request to the extent it is vague,
   19 ambiguous, overly broad, oppressive, or unduly burdensome, and to the extent that

   20 compliance will impose undue expense and burden on Mr. Antoon.

   21        4.     Mr. Antoon objects to each Request to the extent it seeks documents
   22 that are not within Mr. Antoon’s possession, custody, or control.

   23        5.     Mr. Antoon objects to each Request to the extent it calls for, could be
   24 construed to call for, or seeks the production of documents that are privileged or

   25 protected from disclosure under the attorney-client privilege, the privilege against

   26 compelled disclosure of work product or any material prepared in anticipation of

   27 litigation or in preparation for trial, or any other applicable privilege, whether set

   28 forth in the Federal Rules of Civil Procedure, common law, or the Constitutions of

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    1 the United States or the State of California. Any responses to each Request are

    2 given, and any productions pursuant to any Request are made, without waiving and

    3 on the contrary reserving and intending to reserve each of those privileges. If any

    4 privileged information is disclosed, except pursuant to a specific written agreement

    5 covering such information, the disclosure shall be deemed inadvertent and will not

    6 be intended to waive or prejudice any applicable privilege or immunity from

    7 disclosure, and all parties shall immediately return the privileged information to

    8 Mr. Antoon.

    9        6.     Mr. Antoon objects to each Request to the extent it seeks the
   10 production of information that is obtainable from some other source or discovery

   11 device that is more convenient, less burdensome, or less expensive. Mr. Antoon

   12 thus objects to each Request to the extent it seeks production of documents that are

   13 (i) already within Plaintiff’s possession, custody, or control; (ii) not reasonably

   14 accessible; (iii) available from public sources; or (iv) obtainable from other

   15 sources, including defendants MindGeek S.a.r.l., MG Freesites, Ltd., MindGeek

   16 USA Incorporated, MG Premium Ltd, MG Global Entertainment Inc., 9219-1568

   17 Quebec, Inc. (the “MindGeek Corporate Defendants”), parties to this litigation, in a

   18 more convenient, less burdensome, and/or less expensive manner than seeking

   19 them through the Requests.

   20        7.     Mr. Antoon objects to each Request to the extent it seeks confidential
   21 or proprietary information pertaining to Mr. Antoon’s business and business

   22 relationships. Many of the Requests would impinge on the confidentiality of

   23 materials that Mr. Antoon has received from business counterparties. Mr. Antoon

   24 will produce such documents or information only pursuant to the Stipulated

   25 Protecive Order (ECF No. 187) entered in this litigation.

   26        8.     Mr. Antoon objects to each Request to the extent it seeks documents
   27 that are not relevant to any party’s claim or defense.

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    1        9.     Mr. Antoon objects to each Request to the extent it is disproportionate
    2 to the needs of the case.

    3        10.          A response to any Request stating that any responsive
    4 documents will be produced does not constitute a representation or

    5 acknowledgment that there are any documents responsive to such Request or

    6 within Mr. Antoon’s possession, custody, or control.

    7        11.    The responses made herein shall not constitute a waiver of any
    8 objection by Mr. Antoon to the competency, relevancy, materiality, authenticity,

    9 privilege, or admissibility of any documents sought by the Requests or the subject

   10 matter of any of them. Mr. Antoon reserves the right to supplement these

   11 responses if in the course of this action Mr. Antoon becomes aware of documents

   12 that are called for by the Requests and that were inadvertently overlooked or not

   13 available at the time of these responses.

   14        12.    Mr. Antoon objects to each Request to the extent that it calls for the
   15 disclosure of information that would violate any law, rule, or regulation and to the

   16 extent it calls for the disclosure of information that is protected from disclosure

   17 under any applicable privacy, data protection or other law or regulation.

   18        13.    Mr. Antoon’s responses are at all times subject to supplementation
   19 and revision in light of future investigation and analysis. Mr. Antoon reserves the

   20 right to rely at any stage of this proceeding upon subsequently discovered

   21 information, or upon information not contained in his present responses because of

   22 lack of present knowledge, inadvertence, or mistake.

   23        14.    Mr. Antoon objects to the definition of “MindGeek,” “MindGeek
   24 Entity,” and “MindGeek Related Entities” because it is vague and overbroad,

   25 seeking information about entities and persons not relevant to determining whether

   26 personal jurisdiction exists over this action pursuant to the Court’s July 29 Order.

   27 Mr. Antoon therefore interprets “MindGeek,” “MindGeek Entity” and “MindGeek

   28 Related Entities” to mean the MindGeek Corporate Defendants.

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    1        15.    Mr. Antoon objects to the definition of “Defendants” because it is
    2 vague and overbroad, seeking information about entities and persons not relevant

    3 to determining whether personal jurisdiction exists over this action pursuant to the

    4 Court’s July 29 Order. Mr. Antoon therefore interprets “Defendants” to mean the

    5 MindGeek Corporate Defendants and Bernd Bergmair, David Tassillo, Corey

    6 Urman, Visa Inc., and Mr. Antoon—that is, the parties named as defendants in the

    7 Amended Complaint (ECF No. 124-3).

    8        16.    Mr. Antoon objects to the definition of “MindGeek Tubesites”
    9 because it is vague and overbroad, seeking information about entities and persons

   10 not relevant to determining whether personal jurisdiction exists over this action

   11 pursuant to the Court’s July 29 Order. Mr. Antoon therefore interprets “MindGeek

   12 Tubesites” to mean Pornhub, the only site on which Plaintiff alleges her video

   13 appeared and therefore the only site relevant to Plaintiff’s claims.

   14        17.    Mr. Antoon objects to the definition of “Communication” as vague,
   15 overbroad, unduly burdensome, and not proportional to the needs of the case to the

   16 extent it encompasses the memorialization of the transmittal of information rather

   17 than the transmittal of information.

   18        18.    Mr. Antoon objects to the definition of the “Relevant Time Period” to
   19 the extent it seeks information before June 1, 2014, and after June 17, 2021,

   20 because such information would be irrelevant to the Court’s jurisdictional inquiry

   21 and therefore exceeds the scope of discovery authorized by the Court’s July 29

   22 Order. Mr. Antoon therefore interprets “Relevant Time Period” to mean June 1,

   23 2014, through June 17, 2021. Unless otherwise indicated, Mr. Antoon will

   24 produce information relating only to matters occurring between June 1, 2014

   25 through June 17, 2021.

   26        19.    Mr. Antoon objects to the definition of “Employee” as overly broad,
   27 unduly burdensome, and calling for production of information or material not

   28 relevant to the Court’s exercise of personal jursidiction over Mr. Antoon and not

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    1 proportional to the needs of the case to the extent it includes “current or former

    2 partners, directors, shareholders, employees, officers, agents, officials,

    3 representatives, associates, consultants, attorneys, advisors, accountants, aliases,

    4 and all persons and entities acting or purporting to act on the employer’s behalf.”

    5 Mr. Antoon therefore interprets “Employee” to mean persons employed by the

    6 MindGeek Corporate Defendants during the Relevant Time Period.

    7        20.    Mr. Antoon objects to the definition of “Parent” as ambiguous,
    8 overbroad, and calling for a legal conclusion.

    9        21.    Mr. Antoon objects to the definition of “Affiliate” or “Affiliates” as
   10 overbroad and ambiguous to the extent it includes “sister corporations” or “sister

   11 limited liability companies,” as such terms are undefined. Mr. Antoon further

   12 objects to these definitions as overbroad, unduly burdensome, and calling for the

   13 production of information or material not relevant to the Court’s exercise of

   14 personal jurisdiction over Mr. Antoon and not proportional to the needs of the case

   15 to the extent they include “any other form of business entity with an overlap of

   16 ownership, board of directors, managers, or executives.”

   17        22.    Mr. Antoon objects to the instruction that “[t]he use of a verb in any
   18 tense shall be construed as the use of the verb in all other tenses” as vague,

   19 overbroad, unduly burdensome, and not proportional to the needs of the case to the

   20 extent it purports “to bring within the scope of” the Requests “all documents and

   21 responses which might otherwise be considered beyond the scope.”

   22        23.    Mr. Antoon objects to the instruction that “[t]he connectives ‘and’ and
   23 ‘or’ shall be construed either disjunctively or conjunctively” as vague, overbroad,

   24 unduly burdensome, and not proportional to the needs of the case to the extent it

   25 purports to “bring within the scope of” the Request “all responses that might

   26 otherwise be construed to be outside its scope.”

   27        24.    Mr. Antoon objects to the instruction that he “furnish all responsive
   28 documents . . . including documents in the possession of [his] agents, advisors,

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    1 attorneys, contractors, representatives, partners, representatives, and anyone else

    2 acting on [his] behalf or otherwise subject to [his] control” to the extent it would

    3 impose an unreasonable burden on Mr. Antoon, particularly in light of his status as

    4 an individual defendant in an action asserting claims against many defendants for

    5 conduct that allegedly occurred over the span of many years.

    6        25.    Mr. Antoon objects to the definitions of “any” and “all” as vague,
    7 overbroad, unduly burdensome, and not proportional to the needs of the case to the

    8 extent they purport to “bring within the scope of the Requests all responses that

    9 might otherwise be construed to be outside of their scope.”

   10        26.    Mr. Antoon objects to the instructions to the extent they impose
   11 obligations on Mr. Antoon with respect to the treatment of electronically stored

   12 information that differ from those set forth in the Stipulated Order Re: Discovery

   13 of Electronically Information (ECF No. 188) entered in this case.

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    1                   SPECIFIC OBJECTIONS AND RESPONSES
    2 Request No. 1:

    3        All documents and communications concerning Serena Fleites.
    4 Response to Request No. 1:

    5        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    6 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    7 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    8 communications or other documents that are protected by the attorney-client

    9 privilege, work product doctrine, or any other applicable privilege or immunity.

   10 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

   11 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

   12 Among other things, this Request improperly assumes that “communications

   13 concerning Serena Fleites” are relevant to determine whether personal jurisdiction

   14 exists over Mr. Antoon. Mr. Antoon also objects to the term “concerning Serena

   15 Fleites” as vague and overbroad. Mr. Antoon further objects to this Request to the

   16 extent it seeks documents outside the Relevant Time Period. Mr. Antoon also

   17 objects to this Request because it seeks information that can be obtained from a

   18 more convenient and less expensive source, namely, the MindGeek Corporate

   19 Defendants. Indeed, Plaintiff issued the same Request to the MindGeek Corporate

   20 Defendants, and it would be unreasonably expensive and disproportionate to the

   21 needs of the case to require Mr. Antoon, an individual, to duplicate the search of

   22 the MindGeek Corporate Defendants.

   23        Subject to the foregoing objections, Mr. Antoon states that he has had no
   24 communications with Serena Fleites.

   25 Request No. 2:

   26        All documents and communications concerning or relating to Your
   27 affiliation with, employment by, or ownership of MindGeek, any MindGeek

   28 Related Entity, or any MindGeek Tubesites.

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     1 Response to Request No. 2:

     2        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     3 unduly burdensome, and seeks information beyond Mr. Antoon’s possession,

     4 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     5 communications or other documents that are protected by the attorney-client

     6 privilege, work product doctrine, or any other applicable privilege or immunity.

     7 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     8 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     9 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    10 the Relevant Time Period. And Mr. Antoon objects to the term “affiliation”

    11 because it is vague and ambiguous. Mr. Antoon also objects to this Request to the

    12 extent it seeks information that can be obtained from a more convenient and less

    13 expensive source, namely, the MindGeek Corporate Defendants. Indeed, Mr.

    14 Antoon interprets Plaintiff’s Request Nos. 3, 24, and 25 to the MindGeek

    15 Corporate Defendants to request the same information as this Request, and it

    16 would be unreasonably expensive and disproportionate to the needs of the case to

    17 require Mr. Antoon, an individual, to duplicate the search of the MindGeek

    18 Corporate Defendants.

    19        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
    20 incorporates herein his response to Interrogatory No. 1 and agrees to meet and

    21 confer should there be remaining questions on this topic.

    22 Request No. 3:

    23        All documents and communications concerning or reflecting any income,
    24 revenue, or other monies You have received from MindGeek, any MindGeek

    25 Related Entity, or any MindGeek Tubesites.

    26 Response to Request No. 3:

    27        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    28 unduly burdensome, and seeks information beyond Mr. Antoon’s possession,

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     1 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

     2 information beyond the scope of the jurisdictional discovery authorized by the

     3 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

     4 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

     5 this Request to the extent it seeks information that can be obtained from a more

     6 convenient and less expensive source, namely, the MindGeek Corporate

     7 Defendants. Indeed, Mr. Antoon interprets Plaintiff’s Request Nos. 3, 24, and 25

     8 to the MindGeek Corporate Defendants to request the same information as this

     9 Request, and it would be unreasonably expensive and disproportionate to the needs

    10 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    11 MindGeek Corporate Defendants.

    12 Request No. 4:

    13        All documents and communications between and among You and any of the
    14 Defendants related to this Action.

    15 Response to Request No. 4:

    16        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    17 unduly burdensome, and seeks information beyond Mr. Antoon’s possession,

    18 custody, or control. And Mr. Antoon objects to this Request because it is

    19 duplicative of Request No. 1. Mr. Antoon also objects to this Request to the extent

    20 it seeks communications or other documents that are protected by the attorney-

    21 client privilege, work product doctrine, or any other applicable privilege or

    22 immunity. Moreover, Mr. Antoon objects to the extent this Request seeks

    23 information beyond the scope of the jurisdictional discovery authorized by the

    24 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    25 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    26 this Request because it seeks information that can be obtained from a more

    27 convenient and less expensive source, namely, the MindGeek Corporate

    28 Defendants. Indeed, Mr. Antoon interprets Plaintiff’s Request No. 1 to the

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     1 MindGeek Corporate Defendants to request the same information as this Request,

     2 and it would be unreasonably expensive and disproportionate to the needs of the

     3 case to require Mr. Antoon, an individual, to duplicate the search of the MindGeek

     4 Corporate Defendants.

     5 Request No. 5:

     6        All documents and communications between and among You and any of the
     7 Defendants related to the presence of any CSAM on any MindGeek site, any

     8 MindGeek Related Entity site, or any MindGeek Tubesites.

     9 Response to Request No. 5:

    10        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    11 unduly burdensome, and seeks information beyond Mr. Antoon’s possession,

    12 custody, or control. Mr. Antoon objects to the terms “MindGeek site” and

    13 “MindGeek Related Entity site” as vague and ambiguous. Mr. Antoon therefore

    14 interprets both “MindGeek site” and “MindGeek Related Entity site” to mean

    15 Pornhub, the only site on which Plaintiff alleges her video appeared and therefore

    16 the only site relevant to Plaintiff’s claims. Mr. Antoon also objects to this Request

    17 to the extent it seeks communications or other documents that are protected by the

    18 attorney-client privilege, work product doctrine, or any other applicable privilege

    19 or immunity. Moreover, Mr. Antoon objects to the extent this Request seeks

    20 information beyond the scope of the jurisdictional discovery authorized by the

    21 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    22 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    23 this Request to the extent it seeks information that can be obtained from a more

    24 convenient and less expensive source, namely, the MindGeek Corporate

    25 Defendants. Indeed, Mr. Antoon interprets Plaintiff’s Request Nos. 28, 29, 33, 34,

    26 35, 36, 40, 41, 43, and 46 to the MindGeek Corporate Defendants to request the

    27 same information as this Request, and it would be unreasonably expensive and

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     1 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     2 duplicate the search of the MindGeek Corporate Defendants.

     3 Request No. 6:

     4        All documents describing, depicting, explaining, or relating to the past or
     5 present corporate and ownership organization and structure of MindGeek, the

     6 identity of all affiliated or related party entities, corporations, limited partnerships,

     7 limited liability companies, partnerships, or other entities; the nature of the direct,

     8 indirect or beneficial ownership or other interests held by any such person, entity,

     9 or organization; and the owners, members, directors, managers, lenders, secured

    10 parties, general or limited partners, executives, and outside law firms and

    11 accountants of such entities.

    12 Response to Request No. 6:

    13        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    14 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    15 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    16 communications or other documents that are protected by the attorney-client

    17 privilege, work product doctrine, or any other applicable privilege or immunity.

    18 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    19 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    20 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    21 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    22 seeks information that can be obtained from a more convenient and less expensive

    23 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    24 interprets Request No. 2 to the MindGeek Corporate Defendants to seek the same

    25 information as this Request, and it would be unreasonably expensive and

    26 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    27 duplicate the search of the MindGeek Corporate Defendants.

    28 Request No. 7:

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     1        All documents related to any past or present, direct, indirect, or beneficial
     2 ownership, lending, or secured or other economic interest in, or business

     3 relationship with, MindGeek or any MindGeek Related Entity by You or any of the

     4 other Individual Defendants, Colbeck Capital, JP Morgan Chase, Fortress

     5 Investment Group, Cornell, Bjorn Daniel Sudan, or Shaileshkumar P. Jain (a/k/a

     6 “Sam” Jain) or individuals or entities introduced or represented by such persons or

     7 entities.

     8 Response to Request No. 7:

     9        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    10 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    11 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    12 communications or other documents that are protected by the attorney-client

    13 privilege, work product doctrine, or any other applicable privilege or immunity.

    14 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    15 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    16 This Request plainly seeks information about individuals and entities that are not

    17 parties to this case and is therefore outside the scope of the Court’s July 29 Order.

    18 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    19 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    20 seeks information that can be obtained from a more convenient and less expensive

    21 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    22 interprets Request No. 3 to the MindGeek Corporate Defendants to seek the same

    23 information as this Request, and it would be unreasonably expensive and

    24 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    25 duplicate the search of the MindGeek Corporate Defendants.

    26        Subject to the foregoing objections, Mr. Antoon refers to and incorporates
    27 his response to Interrogatory No. 1 and agrees to meet and confer should there be

    28 remaining questions on this topic.

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     1 Request No. 8:

     2        All documents related to any past or present, direct, indirect or beneficial
     3 ownership, licensing, or secured or other economic interest of, or in, any

     4 intellectual property owned or licensed, directly or indirectly by You related to

     5 MindGeek, any MindGeek Related Entity, or any MindGeek Tubesites.

     6 Response to Request No. 8:

     7        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     8 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     9 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    10 communications or other documents that are protected by the attorney-client

    11 privilege, work product doctrine, or any other applicable privilege or immunity.

    12 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    13 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    14 Among other things, this Request seeks information about intellectual property

    15 unrelated to Pornhub or the claims at issue in this case. Mr. Antoon further objects

    16 to this Request to the extent it seeks documents outside the Relevant Time Period.

    17 Mr. Antoon also objects to this Request to the extent it seeks information that can

    18 be obtained from a more convenient and less expensive source, namely, the

    19 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 4 to

    20 the MindGeek Corporate Defendants to seek the same information as this Request,

    21 and it would be unreasonably expensive and disproportionate to the needs of the

    22 case to require Mr. Antoon, an individual, to duplicate the search of the MindGeek

    23 Corporate Defendants.

    24 Request No. 9:

    25        All documents describing, depicting, explaining, or relating to MindGeek’s
    26 past or present internal organizational structure, offices, departments, executives,

    27 and personnel.

    28 Response to Request No. 9:

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     1        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     2 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     3 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     4 communications or other documents that are protected by the attorney-client

     5 privilege, work product doctrine, or any other applicable privilege or immunity.

     6 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     7 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     8 Mr. Antoon further objects to this Request to the extent it seeks documents outside

     9 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    10 seeks information that can be obtained from a more convenient and less expensive

    11 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    12 interprets Request No. 5 to the MindGeek Corporate Defendants to seek the same

    13 information as this Request, and it would be unreasonably expensive and

    14 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    15 duplicate the search of the MindGeek Corporate Defendants.

    16 Request No. 10:

    17        All documents identifying all MindGeek or outside personnel or vendors
    18 with any current or past responsibility for moderating, monitoring, formatting,

    19 optimizing, filtering, reviewing, screening, or removing content on any MindGeek

    20 platform or website, the entities they were retained and employed by, and the

    21 entities that they were compensated by, whether salary, bonus or otherwise.

    22 Response to Request No. 10:

    23        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    24 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    25 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    26 communications or other documents that are protected by the attorney-client

    27 privilege, work product doctrine, or any other applicable privilege or immunity.

    28 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

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     1 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     2 Among other things, this Request is not limited to the MindGeek Corporate

     3 Defendants. Nor is it limited to Pornhub, the only tubesite on which Plaintiff

     4 alleges content depicting her was uploaded. Mr. Antoon also objects to the terms

     5 “outside personnel” and “vendors” as vague and ambiguous. Mr. Antoon further

     6 objects to this Request to the extent it seeks documents outside the Relevant Time

     7 Period. Mr. Antoon also objects to this Request to the extent it seeks information

     8 that can be obtained from a more convenient and less expensive source, namely,

     9 the MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No.

    10 6 to the MindGeek Corporate Defendants to seek the same information as this

    11 Request, and it would be unreasonably expensive and disproportionate to the needs

    12 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    13 MindGeek Corporate Defendants.

    14 Request No. 11:

    15        All documents and communications relating to Your or MindGeek’s past or
    16 present jurisdictional contacts with the United States or California, including but

    17 not limited to, offices, residences, and real estate located in California or any

    18 jurisdiction in the United States.

    19 Response to Request No. 11:

    20        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    21 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    22 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    23 communications or other documents that are protected by the attorney-client

    24 privilege, work product doctrine, or any other applicable privilege or immunity.

    25 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    26 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    27 Among other things, Mr. Antoon objects because this Request assumes officers,

    28 residence, and real estate located in California or the United States at large are

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     1 relevant “jurisdictional contacts” in this action. Mr. Antoon also objects to this

     2 Request because it assumes the actions or contacts of the MindGeek Corporate

     3 Defendants are relevant to the issue of whether this Court has personal jurisdiction

     4 over Mr. Antoon. Mr. Antoon further objects to this Request to the extent it seeks

     5 documents outside the Relevant Time Period. Mr. Antoon also objects to this

     6 Request to the extent it seeks information that can be obtained from a more

     7 convenient and less expensive source, namely, the MindGeek Corporate

     8 Defendants. Indeed, Mr. Antoon interprets Request No. 7 to the MindGeek

     9 Corporate Defendants to seek the same information as this Request, and it would

    10 be unreasonably expensive and disproportionate to the needs of the case to require

    11 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    12 Defendants.

    13        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
    14 incorporates herein his responses to Interrogatory No. 4 and agrees to meet and

    15 confer should there be remaining questions on this topic.

    16 Request No. 12:

    17        All documents and communications relating to Your or MindGeek’s
    18 personnel or vendors employed, retained, paid, located in, or otherwise providing

    19 services in California or any jurisdiction in the United States; political activities in

    20 California or any jurisdiction in the United States, including through direct or

    21 indirect participation in, or financial support for, lobbying, trade, or industry, or

    22 activist organizations; trips to California or any jurisdiction in the United States;

    23 servers; revenues, profits, expenses, taxes earned or paid in or from California or

    24 any jurisdiction in the United States; and communications or business relationships

    25 with, to, from, or in California or any jurisdiction in the United States.

    26 Response to Request No. 12:

    27        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    28 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

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     1 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     2 communications or other documents that are protected by the attorney-client

     3 privilege, work product doctrine, or any other applicable privilege or immunity.

     4 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     5 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     6 Mr. Antoon further objects to this Request to the extent it seeks documents outside

     7 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     8 seeks information that can be obtained from a more convenient and less expensive

     9 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    10 interprets Request No. 7 to the MindGeek Corporate Defendants to seek the same

    11 information as this Request, and it would be unreasonably expensive and

    12 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    13 duplicate the search of the MindGeek Corporate Defendants.

    14        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
    15 incorporates herein his responses to Interrogatory No. 4 and agrees to meet and

    16 confer should there be remaining questions on this topic.

    17 Request No. 13:

    18        All documents reflecting annual revenues, profits and losses, and expenses
    19 for each MindGeek Related Entity or MindGeek Tubesite or the entity that owns or

    20 controls that platform or website.

    21 Response to Request No. 13:

    22        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    23 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    24 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    25 information beyond the scope of the jurisdictional discovery authorized by the

    26 Court’s July 29 Order. Among other things, this Request is not limited to Pornhub,

    27 the only tubesite on which Plaintiff alleges content depicting her was uploaded, or

    28 to MG Freesites Ltd., the entity that operates Pornhub. Mr. Antoon further objects

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     1 to this Request to the extent it seeks documents outside the Relevant Time Period.

     2 Mr. Antoon also objects to this Request to the extent it seeks information that can

     3 be obtained from a more convenient and less expensive source, namely, the

     4 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 8 to

     5 the MindGeek Corporate Defendants to seek the same information as this Request,

     6 and it would be unreasonably expensive and disproportionate to the needs of the

     7 case to require Mr. Antoon, an individual, to duplicate the search of the MindGeek

     8 Corporate Defendants.

     9 Request No. 14:

    10        All documents concerning, reflecting, describing, or relating to, or
    11 comprising of presentations to or from, proposed transactions from, or data and

    12 information provided or made available to, any actual or potential investors,

    13 lenders, secured parties, licensees, purchasers, or others concerning MindGeek or

    14 any MindGeek Related Entity.

    15 Response to Request No. 14:

    16        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    17 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    18 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    19 communications or other documents that are protected by the attorney-client

    20 privilege, work product doctrine, or any other applicable privilege or immunity.

    21 Mr. Antoon objects to the terms “or others” and “concerning MindGeek” because

    22 they are vague and ambiguous. Moreover, Mr. Antoon objects to the extent this

    23 Request seeks information beyond the scope of the jurisdictional discovery

    24 authorized by the Court’s July 29 Order. Mr. Antoon further objects to this

    25 Request to the extent it seeks documents outside the Relevant Time Period. Mr.

    26 Antoon also objects to this Request to the extent it seeks information that can be

    27 obtained from a more convenient and less expensive source, namely, the

    28 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 9 to

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     1 the MindGeek Corporate Defendants to seek the same information as this Request,

     2 and it would be unreasonably expensive and disproportionate to the needs of the

     3 case to require Mr. Antoon, an individual, to duplicate the search of the MindGeek

     4 Corporate Defendants.

     5 Request No. 15:

     6        All transaction documents, term sheets, and communications concerning any
     7 actual or proposed transactions involving the ownership of, loans to, secured

     8 interest in, or intellectual property or other rights related to MindGeek.

     9 Response to Request No. 15:

    10        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    11 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    12 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    13 communications or other documents that are protected by the attorney-client

    14 privilege, work product doctrine, or any other applicable privilege or immunity.

    15 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    16 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    17 Among other things, Mr. Antoon objects to this Request to the extent it seeks

    18 information with respect to “proposed transactions,” which bear no relation to

    19 whether personal jurisdiction exists with respect to Mr. Antoon. Mr. Antoon also

    20 objects to the term “other rights” because it is vague and ambiguous. Mr. Antoon

    21 further objects to this Request to the extent it seeks documents outside the Relevant

    22 Time Period. Mr. Antoon also objects to this Request to the extent it seeks

    23 information that can be obtained from a more convenient and less expensive

    24 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    25 interprets Request No. 10 to the MindGeek Corporate Defendants to seek the same

    26 information as this Request, and it would be unreasonably expensive and

    27 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    28 duplicate the search of the MindGeek Corporate Defendants.

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     1 Request No. 16:

     2        For each MindGeek entity, affiliate, subsidiary, or related entity, all
     3 financial, ledgers; shareholder, investor, director, member, manager, or partner

     4 lists; board presentation materials, board minutes, and calendars of board meetings

     5 or conferences; records reflecting capitalization, revenues, profits, tax payments,

     6 distributions or dividends, and distribution or dividend recipients for such entities;

     7 articles of incorporation or formation, by-laws, shareholder and lender agreements;

     8 profit and loss, balance sheet, tax, payroll, and expense records; and records

     9 reflecting the sources of all payments made to or on behalf of the entity, affiliate,

    10 subsidiary, or related entity.

    11 Response to Request No. 16:

    12        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    13 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    14 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    15 information beyond the scope of the jurisdictional discovery authorized by the

    16 Court’s July 29 Order. Mr. Antoon objects to this Request because it seeks

    17 financial ledgers, lists of investors or managers, lender agreements, payroll and

    18 expense records, and sources of payment that are unrelated to any claim in this

    19 case or to determining whether personal jurisdiction exists over Mr. Antoon. Mr.

    20 Antoon further objects to this Request to the extent it seeks documents outside the

    21 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    22 seeks information that can be obtained from a more convenient and less expensive

    23 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    24 interprets Request No. 11 to the MindGeek Corporate Defendants to seek the same

    25 information as this Request, and it would be unreasonably expensive and

    26 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    27 duplicate the search of the MindGeek Corporate Defendants.

    28 Request No. 17:

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     1        For each MindGeek Entity, affiliate, subsidiary, or Related Entity, all
     2 quarterly and annual tax filings, audits, financials, and statutory reporting,

     3 including work papers and reports of its outside accountants.

     4 Response to Request No. 17:

     5        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     6 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     7 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

     8 information beyond the scope of the jurisdictional discovery authorized by the

     9 Court’s July 29 Order. Mr. Antoon objects to this Request because quarterly and

    10 annual tax filings, audits, financials, and statutory reporting, including work papers

    11 and reports of outside accountants are unrelated to the any claim asserted in this

    12 case or to determining whether personal jurisdiction exists over Mr. Antoon. Mr.

    13 Antoon further objects to this Request to the extent it seeks documents outside the

    14 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    15 seeks information that can be obtained from a more convenient and less expensive

    16 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    17 interprets Request No. 12 to the MindGeek Corporate Defendants to seek the same

    18 information as this Request, and it would be unreasonably expensive and

    19 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    20 duplicate the search of the MindGeek Corporate Defendants.

    21 Request No. 18:

    22        Your monthly, quarterly, and annual bank and investment statements.
    23 Response to Request No. 18:

    24        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    25 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    26 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    27 information beyond the scope of the jurisdictional discovery authorized by the

    28 Court’s July 29 Order. This Requests seeks information about Mr. Antoon’s

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     1 personal finances that is wholly unrelated to Fleites or Pornhub, the only tubesite

     2 on which Plaintiff alleges content depicting her was uploaded. Mr. Antoon further

     3 objects to this Request to the extent it seeks documents outside the Relevant Time

     4 Period. Mr. Antoon also objects to the term “investment statement” as vague and

     5 ambiguous. Mr. Antoon also objects to this Request to the extent it seeks

     6 information that can be obtained from a more convenient and less expensive

     7 source, namely, the MindGeek Corporate Defendants that were also the subject of

     8 the Court’s July 29 Order. Indeed, Request No. 24 to the MindGeek Corporate

     9 Defendants also seeks information as to payments made to, among others, Mr.

    10 Antoon, and it would be unreasonably expensive and disproportionate to the needs

    11 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    12 MindGeek Corporate Defendants.

    13 Request No. 19:

    14        All documents and communications related to any corporate reorganization
    15 by MindGeek and the purposes behind that reorganization.

    16 Response to Request No. 19:

    17        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    18 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    19 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    20 communications or other documents that are protected by the attorney-client

    21 privilege, work product doctrine, or any other applicable privilege or immunity.

    22 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    23 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    24 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    25 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    26 seeks information that can be obtained from a more convenient and less expensive

    27 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    28 interprets Request No. 14 to the MindGeek Corporate Defendants to seek the same

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     1 information as this Request, and it would be unreasonably expensive and

     2 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     3 duplicate the search of the MindGeek Corporate Defendants.

     4 Request No. 20:

     5        All documents or communications identifying the various subsidiaries
     6 comprising the business of MindGeek.

     7 Response to Request No. 20:

     8        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     9 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    10 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    11 information beyond the scope of the jurisdictional discovery authorized by the

    12 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    13 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    14 this Request to the extent it seeks information that can be obtained from a more

    15 convenient and less expensive source, namely, the MindGeek Corporate

    16 Defendants. Indeed, Mr. Antoon interprets Request No. 15 to the MindGeek

    17 Corporate Defendants to seek the same information as this Request, and it would

    18 be unreasonably expensive and disproportionate to the needs of the case to require

    19 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    20 Defendants.

    21 Request No. 21:

    22        All documents identifying the directors, managers, members, executives,
    23 and personnel of the various subsidiaries comprising the business of MindGeek.

    24 Response to Request No. 21:

    25        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    26 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    27 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    28 information beyond the scope of the jurisdictional discovery authorized by the

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     1 Court’s July 29 Order. Among other things, this request is not related to the

     2 individuals or entities that are parties to this action. Mr. Antoon further objects to

     3 this Request to the extent it seeks documents outside the Relevant Time Period.

     4 Mr. Antoon also objects to this Request to the extent it seeks information that can

     5 be obtained from a more convenient and less expensive source, namely, the

     6 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 16

     7 to the MindGeek Corporate Defendants to seek the same information as this

     8 Request, and it would be unreasonably expensive and disproportionate to the needs

     9 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    10 MindGeek Corporate Defendants.

    11 Request No. 22:

    12        All documents identifying the companies organized and existing under the
    13 laws of multiple jurisdictions where MindGeek has assets, operates businesses, or

    14 provides services and the nature of those assets, businesses, or services.

    15 Response to Request No. 22:

    16        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    17 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    18 custody, or control. Mr. Antoon objects to the term “the companies” as used in

    19 this Request as vague, ambiguous, and overbroad; this Request seeks information

    20 about all companies that exist wherever the MindGeek Corporate Defendants have

    21 assets. Mr. Antoon therefore interprets “the companies” to mean the MindGeek

    22 Corporate Defendants. But even so limited, this Request is overbroad, seeking

    23 documents identifying all “assets, business or services” of the MindGeek

    24 Corporate Defendants over the entirety of the Relevant Time Period. Moreover,

    25 Mr. Antoon objects to the extent this Request seeks information beyond the scope

    26 of the jurisdictional discovery authorized by the Court’s July 29 Order. Mr.

    27 Antoon further objects to this Request to the extent it seeks documents outside the

    28 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

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     1 seeks information that can be obtained from a more convenient and less expensive

     2 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     3 interprets Request No. 17 to the MindGeek Corporate Defendants to seek the same

     4 information as this Request, and it would be unreasonably expensive and

     5 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     6 duplicate the search of the MindGeek Corporate Defendants.

     7 Request No. 23:

     8        All documents identifying the entities providing services to MG Freesites
     9 LTD.

    10 Response to Request No. 23:

    11        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    12 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    13 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    14 information beyond the scope of the jurisdictional discovery authorized by the

    15 Court’s July 29 Order. Mr. Antoon objects to the term “the entities” as vague,

    16 ambiguous, and overbroad; this Request seeks information about all corporate

    17 entities that provide services to MG Freesites Ltd, which, among other things,

    18 plainly exceeds the discovery authorized by the Court’s July 29 Order. Mr.

    19 Antoon therefore interprets “the entities” to mean the MindGeek Corporate

    20 Defendants. Mr. Antoon further objects to this Request to the extent it seeks

    21 documents outside the Relevant Time Period. Mr. Antoon also objects to this

    22 Request to the extent it seeks information that can be obtained from a more

    23 convenient and less expensive source, namely, the MindGeek Corporate

    24 Defendants. Indeed, Mr. Antoon interprets Request No. 18 to the MindGeek

    25 Corporate Defendants to seek the same information as this Request, and it would

    26 be unreasonably expensive and disproportionate to the needs of the case to require

    27 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    28 Defendants.

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     1 Request No. 24:

     2        All documents identifying the bank accounts, services, payments, written
     3 agreements, third parties providing transfer pricing studies, pricing studies and

     4 price ranges, accounting, and tax determinations.

     5 Response to Request No. 24:

     6        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     7 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     8 custody, or control. Mr. Antoon objects to this Request as vague and ambiguous

     9 because it seeks information about “bank accounts, services, payments, written

    10 agreements, third parties providing transfer pricing studies, pricing studies and

    11 price ranges, accounting, and tax determinations” of an unidentified person or

    12 entity. Mr. Antoon also objects to this Request to the extent it seeks

    13 communications or other documents that are protected by the attorney-client

    14 privilege, work product doctrine, or any other applicable privilege or immunity.

    15 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    16 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    17 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    18 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    19 seeks information that can be obtained from a more convenient and less expensive

    20 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    21 interprets Request No. 19 to the MindGeek Corporate Defendants to seek the same

    22 information as this Request, and it would be unreasonably expensive and

    23 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    24 duplicate the search of the MindGeek Corporate Defendants.

    25 Request No. 25:

    26        All audited financial statements and all related communications with
    27 auditors regarding the same.

    28 Response to Request No. 25:

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     1        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     2 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     3 custody, or control. Mr. Antoon objects to this Request as vague and ambiguous

     4 because it seeks information about “audited financial statements” of an

     5 unidentified person or entity. Moreover, Mr. Antoon objects to the extent this

     6 Request seeks information beyond the scope of the jurisdictional discovery

     7 authorized by the Court’s July 29 Order. Mr. Antoon further objects to this

     8 Request to the extent it seeks documents outside the Relevant Time Period. Mr.

     9 Antoon also objects to this Request to the extent it seeks information that can be

    10 obtained from a more convenient and less expensive source, namely, the

    11 MindGeek Corporate Defendants that were also the subject of the Court’s July 29

    12 Order. Indeed, Mr. Antoon interprets Request No. 20 to the MindGeek Corporate

    13 Defendants to seek the same information as this Request, and it would be

    14 unreasonably expensive and disproportionate to the needs of the case to require

    15 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    16 Defendants.

    17 Request No. 26:

    18        All documents identifying the distinct legal entities of MindGeek and any of
    19 the MindGeek Related Entities.

    20 Response to Request No. 26:

    21        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    22 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    23 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    24 information beyond the scope of the jurisdictional discovery authorized by the

    25 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    26 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    27 this Request to the extent it seeks information that can be obtained from a more

    28 convenient and less expensive source, namely, the MindGeek Corporate

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     1 Defendants. Indeed, Mr. Antoon interprets Request No. 21 to the MindGeek

     2 Corporate Defendants to seek the same information as this Request, and it would

     3 be unreasonably expensive and disproportionate to the needs of the case to require

     4 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

     5 Defendants.

     6 Request No. 27:

     7        All documents related to the support services MG Global Entertainment has
     8 provided.

     9 Response to Request No. 27:

    10        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    11 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    12 custody, or control. Mr. Antoon objects to the term “support services” as vague

    13 and ambiguous and therefore interprets “support services” to mean services

    14 provided by MG Global Entertainment Inc. to other MindGeek Corporate

    15 Defendants. Mr. Antoon also objects to this Request to the extent it seeks

    16 communications or other documents that are protected by the attorney-client

    17 privilege, work product doctrine, or any other applicable privilege or immunity.

    18 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    19 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    20 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    21 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    22 seeks information that can be obtained from a more convenient and less expensive

    23 source, namely, the MindGeek Corporate Defendants that were also the subject of

    24 the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 22 to the

    25 MindGeek Corporate Defendants to seek the same information as this Request, and

    26 it would be unreasonably expensive and disproportionate to the needs of the case to

    27 require Mr. Antoon, an individual, to duplicate the search of the MindGeek

    28 Corporate Defendants.

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     1 Request No. 28:

     2         All documents related to the services provided by 9219-1568 Quebec Inc.
     3 Response to Request No. 28:

     4         Mr. Antoon objects to this Request on the grounds that it is overbroad,
     5 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     6 custody, or control. Mr. Antoon objects to the term “services” as vague and

     7 ambiguous and therefore interprets “services” to mean services provided by 9219-

     8 1568 Quebec Inc. to other MindGeek Corporate Defendants. Mr. Antoon also

     9 objects to this Request to the extent it seeks communications or other documents

    10 that are protected by the attorney-client privilege, work product doctrine, or any

    11 other applicable privilege or immunity. Moreover, Mr. Antoon objects to the

    12 extent this Request seeks information beyond the scope of the jurisdictional

    13 discovery authorized by the Court’s July 29 Order. Mr. Antoon further objects to

    14 this Request to the extent it seeks documents outside the Relevant Time Period.

    15 Mr. Antoon also objects to this Request to the extent it seeks information that can

    16 be obtained from a more convenient and less expensive source, namely, the

    17 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 23

    18 to the MindGeek Corporate Defendants to seek the same information as this

    19 Request, and it would be unreasonably expensive and disproportionate to the needs

    20 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    21 MindGeek Corporate Defendants.

    22 Request No. 29:

    23         All documents relating to MindGeek related payments, investments, or loans
    24 to, in, or for any personal affairs, expenses, entities, businesses, real estate, or

    25 investments related to You or any of the Individual Defendants, or any of their

    26 family members or entities in which either You or a family member holds a direct

    27 or indirect interest.

    28 Response to Request No. 29:

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     1        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     2 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     3 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     4 communications or other documents that are protected by the attorney-client

     5 privilege, work product doctrine, or any other applicable privilege or immunity.

     6 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     7 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     8 Among other things, information about Mr. Antoon’s family members is wholly

     9 unrelated to any claim in this case or to whether personal jurisdiction exists over

    10 Mr. Antoon. Mr. Antoon further objects to this Request to the extent it seeks

    11 documents outside the Relevant Time Period. Mr. Antoon also objects to this

    12 Request to the extent it seeks information that can be obtained from a more

    13 convenient and less expensive source, namely, the MindGeek Corporate

    14 Defendants. Indeed, Mr. Antoon interprets Request No. 24 to the MindGeek

    15 Corporate Defendants to seek the same information as this Request, and it would

    16 be unreasonably expensive and disproportionate to the needs of the case to require

    17 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    18 Defendants.

    19 Request No. 30:

    20        All documents related to the purported resignation of You and David
    21 Tassillo as CEO and COO of MindGeek respectively, including, but not limited to,

    22 any documents related to any investigation, allegations, or reports of their using

    23 Mindgeek assets and monies for their personal affairs, investments, or businesses.

    24 Response to Request No. 30:

    25        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    26 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    27 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    28 communications or other documents that are protected by the attorney-client

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     1 privilege, work product doctrine, or any other applicable privilege or immunity.

     2 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     3 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     4 Among other things, Mr. Antoon’s resignation occurred after Plaintiff initiated this

     5 action and is therefore not jurisdictionally relevant. Mr. Antoon further objects to

     6 this Request to the extent it seeks documents outside the Relevant Time Period.

     7 Mr. Antoon also objects to this Request to the extent it seeks information that can

     8 be obtained from a more convenient and less expensive source, namely, the

     9 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 25

    10 to the MindGeek Corporate Defendants to seek the same information as this

    11 Request, and it would be unreasonably expensive and disproportionate to the needs

    12 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    13 MindGeek Corporate Defendants.

    14 Request No. 31:

    15        All documents or communications depicting, describing, or explaining
    16 MindGeek’s IT infrastructure and networks, data storage, server and data centers

    17 and providers of the same, internal and external communications systems including

    18 ICQ, and ISP and Cloud storage services and providers, including the locations and

    19 identities of any outside vendors associated with the same.

    20 Response to Request No. 31:

    21        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    22 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    23 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    24 information beyond the scope of the jurisdictional discovery authorized by the

    25 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    26 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    27 this Request to the extent it seeks information that can be obtained from a more

    28 convenient and less expensive source, namely, the MindGeek Corporate

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     1 Defendants. Indeed, Mr. Antoon interprets Request No. 26 to the MindGeek

     2 Corporate Defendants to seek the same information as this Request, and it would

     3 be unreasonably expensive and disproportionate to the needs of the case to require

     4 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

     5 Defendants.

     6 Request No. 32:

     7        All contact lists maintained by You or any of the Individual Defendants as
     8 well as documents sufficient to show all cell and other phone numbers and

     9 messaging services used by each individual.

    10 Response to Request No. 32:

    11        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    12 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    13 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    14 information beyond the scope of the jurisdictional discovery authorized by the

    15 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

    16 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    17 this Request to the extent it seeks information that can be obtained from a more

    18 convenient and less expensive source, namely, the MindGeek Corporate

    19 Defendants. Indeed, Mr. Antoon interprets Request No. 27 to the MindGeek

    20 Corporate Defendants to seek the same information as this Request, and it would

    21 be unreasonably expensive and disproportionate to the needs of the case to require

    22 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    23 Defendants.

    24        Subject to the foregoing objections, Mr. Antoon refers Plaintiff to and
    25 incorporates herein his response to Interrogatory No. 6, and agrees to meet and

    26 confer should there be remaining questions on this topic.

    27 Request No. 33:

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     1        All documents or communications identifying, depicting, explaining, or
     2 describing any programs or technology MindGeek acquired, employed, used, or

     3 considered to moderate, monitor, format, optimize, filter, review, screen, or

     4 remove content on its websites, including the dates such technology was acquired,

     5 employed, or considered.

     6 Response to Request No. 33:

     7        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     8 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     9 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    10 communications or other documents that are protected by the attorney-client

    11 privilege, work product doctrine, or any other applicable privilege or immunity.

    12 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    13 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    14 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    15 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    16 seeks information that can be obtained from a more convenient and less expensive

    17 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    18 interprets Request No. 28 to the MindGeek Corporate Defendants to seek the same

    19 information as this Request, and it would be unreasonably expensive and

    20 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    21 duplicate the search of the MindGeek Corporate Defendants.

    22 Request No. 34:

    23        All documents or communications related to MindGeek’s policies, manuals,
    24 practices, processes, and rules for moderating, monitoring, formatting, optimizing,

    25 filtering, reviewing, screening, or removing content on its platforms and websites,

    26 including all prohibited words, phrases, categories, and “genres” and all processes

    27 and reports concerning search engine optimization of such content.

    28 Response to Request No. 34:

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     1        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     2 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     3 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     4 communications or other documents that are protected by the attorney-client

     5 privilege, work product doctrine, or any other applicable privilege or immunity.

     6 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     7 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     8 Among other things, this Request is not limited to Pornhub, which is the only

     9 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    10 Antoon further objects to this Request to the extent it seeks documents outside the

    11 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    12 seeks information that can be obtained from a more convenient and less expensive

    13 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    14 interprets Request No. 29 to the MindGeek Corporate Defendants to seek the same

    15 information as this Request, and it would be unreasonably expensive and

    16 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    17 duplicate the search of the MindGeek Corporate Defendants.

    18 Request No. 35:

    19        All documents and communications describing MindGeek’s policies and
    20 procedures for preserving hard copy and electronic documents and content.

    21 Response to Request No. 35:

    22        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    23 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    24 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    25 communications or other documents that are protected by the attorney-client

    26 privilege, work product doctrine, or any other applicable privilege or immunity.

    27 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    28 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

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     1 Mr. Antoon further objects to this Request to the extent it seeks documents outside

     2 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     3 seeks information that can be obtained from a more convenient and less expensive

     4 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     5 interprets Request No. 30 to the MindGeek Corporate Defendants to seek the same

     6 information as this Request, and it would be unreasonably expensive and

     7 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     8 duplicate the search of the MindGeek Corporate Defendants.

     9 Request No. 36:

    10        All documents and communications reflecting rosters, schedules, training
    11 materials, performance reviews and metrics for personnel or outside contractors or

    12 vendors involved in moderating, formatting, optimization, filtering, screening, or

    13 removing content from MindGeek’s platforms and websites.

    14 Response to Request No. 36:

    15        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    16 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    17 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    18 communications or other documents that are protected by the attorney-client

    19 privilege, work product doctrine, or any other applicable privilege or immunity.

    20 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    21 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    22 Among other things, this Request is not limited to Pornhub, which is the only

    23 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    24 Antoon further objects to this Request to the extent it seeks documents outside the

    25 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    26 seeks information that can be obtained from a more convenient and less expensive

    27 source, namely, the MindGeek Corporate Defendants that were also the subject of

    28 the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 31 to the

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     1 MindGeek Corporate Defendants to seek the same information as this Request, and

     2 it would be unreasonably expensive and disproportionate to the needs of the case to

     3 require Mr. Antoon, an individual, to duplicate the search of the MindGeek

     4 Corporate Defendants.

     5 Request No. 37:

     6        All documents and communications identifying all content categories,
     7 “genres,” or similar descriptors MindGeek has included, recommended, or offered

     8 to users of its platforms and websites.

     9 Response to Request No. 37:

    10        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    11 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    12 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

    13 information beyond the scope of the jurisdictional discovery authorized by the

    14 Court’s July 29 Order. Among other things, this Request is not limited to Pornhub,

    15 which is the only tubesite on which Plaintiff alleges content depicting her was

    16 uploaded. Mr. Antoon further objects to this Request to the extent it seeks

    17 documents outside the Relevant Time Period. Mr. Antoon also objects to this

    18 Request to the extent it seeks information that can be obtained from a more

    19 convenient and less expensive source, namely, the MindGeek Corporate

    20 Defendants. Indeed, Mr. Antoon interprets Request No. 32 to the MindGeek

    21 Corporate Defendants to seek the same information as this Request, and it would

    22 be unreasonably expensive and disproportionate to the needs of the case to require

    23 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    24 Defendants.

    25 Request No. 38:

    26        All documents consisting of, or reflecting, reports, communications, data, or
    27 actions related to content reviewed or screened by any technology, programs, or

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     1 internal or external personnel concerning actual or suspected CSAM,

     2 nonconsensual, prohibited, or illegal content.

     3 Response to Request No. 38:

     4        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     5 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     6 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     7 communications or other documents that are protected by the attorney-client

     8 privilege, work product doctrine, or any other applicable privilege or immunity.

     9 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    10 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    11 Among other things, this Request is not limited to Pornhub, which is the only

    12 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    13 Antoon further objects to this Request to the extent it seeks documents outside the

    14 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    15 seeks information that can be obtained from a more convenient and less expensive

    16 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    17 interprets Request No. 33 to the MindGeek Corporate Defendants to seek the same

    18 information as this Request, and it would be unreasonably expensive and

    19 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    20 duplicate the search of the MindGeek Corporate Defendants.

    21 Request No. 39:

    22        All documents concerning complaints, reports, communications, and
    23 requests concerning CSAM, non-consensual, prohibited, or illegal content on any

    24 MindGeek platform or website, including all documents and communications with

    25 or concerning any associated investigation, actions, and internal and external

    26 communications concerning the same.

    27 Response to Request No. 39:

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     1        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     2 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     3 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     4 communications or other documents that are protected by the attorney-client

     5 privilege, work product doctrine, or any other applicable privilege or immunity.

     6 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     7 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     8 Among other things, this Request is not limited to Pornhub, which is the only

     9 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    10 Antoon also objects to the term “actions” as vague and ambiguous. Mr. Antoon

    11 further objects to this Request to the extent it seeks documents outside the Relevant

    12 Time Period. Mr. Antoon also objects to this Request to the extent it seeks

    13 information that can be obtained from a more convenient and less expensive

    14 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    15 interprets Request No. 34 to the MindGeek Corporate Defendants to seek the same

    16 information as this Request, and it would be unreasonably expensive and

    17 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    18 duplicate the search of the MindGeek Corporate Defendants.

    19 Request No. 40:

    20        All documents and communications reflecting processes, standards, and
    21 technologies that MindGeek employed to prevent the presence of child

    22 pornography, CSAM, non-consensual, prohibited, or illegal content on its

    23 platforms or websites; the dates on which such processes, standards, and

    24 technologies were employed; and the people most knowledgeable about each.

    25 Response to Request No. 40:

    26        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    27 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    28 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

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     1 communications or other documents that are protected by the attorney-client

     2 privilege, work product doctrine, or any other applicable privilege or immunity.

     3 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     4 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     5 Among other things, this Request is not limited to Pornhub, which is the only

     6 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

     7 Antoon further objects to this Request to the extent it seeks documents outside the

     8 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     9 seeks information that can be obtained from a more convenient and less expensive

    10 source, namely, the MindGeek Corporate Defendants that were also the subject of

    11 the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 35 to the

    12 MindGeek Corporate Defendants to seek the same information as this Request, and

    13 it would be unreasonably expensive and disproportionate to the needs of the case to

    14 require Mr. Antoon, an individual, to duplicate the search of the MindGeek

    15 Corporate Defendants.

    16 Request No. 41:

    17        All documents and communications reflecting policies, practices, rules,
    18 guidelines, programs, or plans concerning the moderation, monitoring, review,

    19 formatting, analysis or search and social media use and optimization of content on

    20 MindGeek platforms and websites, including, but not limited to, with respect to

    21 content uploaded with associated languages other than English.

    22 Response to Request No. 41:

    23        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    24 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    25 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    26 communications or other documents that are protected by the attorney-client

    27 privilege, work product doctrine, or any other applicable privilege or immunity.

    28 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

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     1 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     2 Among other things, this Request is not limited to Pornhub, which is the only

     3 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

     4 Antoon further objects to this Request to the extent it seeks documents outside the

     5 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     6 seeks information that can be obtained from a more convenient and less expensive

     7 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     8 interprets Request No. 36 to the MindGeek Corporate Defendants to seek the same

     9 information as this Request, and it would be unreasonably expensive and

    10 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    11 duplicate the search of the MindGeek Corporate Defendants.

    12 Request No. 42:

    13        All documents and communications concerning MindGeek’s policies,
    14 practices, and compliance related to 18 U.S.C. § 2257.

    15 Response to Request No. 42:

    16        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    17 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    18 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    19 communications or other documents that are protected by the attorney-client

    20 privilege, work product doctrine, or any other applicable privilege or immunity.

    21 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    22 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    23 Among other things, this Request is not limited to Pornhub, which is the only

    24 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    25 Antoon further objects to this Request to the extent it seeks documents outside the

    26 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    27 seeks information that can be obtained from a more convenient and less expensive

    28 source, namely, the MindGeek Corporate Defendants that were also the subject of

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     1 the Court’s July 29 Order. Indeed, Mr. Antoon interprets Request No. 37 to the

     2 MindGeek Corporate Defendants to seek the same information as this Request, and

     3 it would be unreasonably expensive and disproportionate to the needs of the case to

     4 require Mr. Antoon, an individual, to duplicate the search of the MindGeek

     5 Corporate Defendants.

     6 Request No. 43:

     7        All materials and information provided to Kaplan, Hecker, & Fink in
     8 connection with its review of MindGeek’s practices as reported in the June 20,

     9 2022 New Yorker magazine.

    10 Response to Request No. 43:

    11        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    12 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    13 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    14 communications or other documents that are protected by the attorney-client

    15 privilege, work product doctrine, or any other applicable privilege or immunity.

    16 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    17 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    18 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    19 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    20 seeks information that can be obtained from a more convenient and less expensive

    21 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    22 interprets Request No. 38 to the MindGeek Corporate Defendants to seek the same

    23 information as this Request, and it would be unreasonably expensive and

    24 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    25 duplicate the search of the MindGeek Corporate Defendants.

    26 Request No. 44:

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     1        All communications between You and Kaplan, Hecker, & Fink in
     2 connection with its review of MindGeek’s practices as reported in the June 20,

     3 2022 New Yorker magazine.

     4 Response to Request No. 44:

     5        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     6 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     7 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     8 communications or other documents that are protected by the attorney-client

     9 privilege, work product doctrine, or any other applicable privilege or immunity.

    10 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    11 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    12 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    13 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    14 seeks information that can be obtained from a more convenient and less expensive

    15 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    16 interprets Request No. 38 to the MindGeek Corporate Defendants to seek the same

    17 information as this Request, and it would be unreasonably expensive and

    18 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    19 duplicate the search of the MindGeek Corporate Defendants.

    20 Request No. 45:

    21        The report and recommendations provided to MindGeek by Kaplan, Hecker
    22 & Fink.

    23 Response to Request No. 45:

    24        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    25 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    26 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    27 communications or other documents that are protected by the attorney-client

    28 privilege, work product doctrine, or any other applicable privilege or immunity.

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     1 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     2 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     3 Mr. Antoon further objects to this Request to the extent it seeks documents outside

     4 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     5 seeks information that can be obtained from a more convenient and less expensive

     6 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     7 interprets Request No. 39 to the MindGeek Corporate Defendants to seek the same

     8 information as this Request, and it would be unreasonably expensive and

     9 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    10 duplicate the search of the MindGeek Corporate Defendants.

    11 Request No. 46:

    12        Any internal or external expert or consultant reports provided to MindGeek
    13 concerning its technology, processes, policies, and practices concerning CSAM,

    14 nonconsensual, prohibited, or illegal content.

    15 Response to Request No. 46:

    16        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    17 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    18 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    19 communications or other documents that are protected by the attorney-client

    20 privilege, work product doctrine, or any other applicable privilege or immunity.

    21 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    22 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    23 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    24 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    25 seeks information that can be obtained from a more convenient and less expensive

    26 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    27 interprets Request No. 40 to the MindGeek Corporate Defendants to seek the same

    28 information as this Request, and it would be unreasonably expensive and

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     1 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     2 duplicate the search of the MindGeek Corporate Defendants.

     3 Request No. 47:

     4        All documents and communications related to the implementation of the
     5 recommendations provided to MindGeek by Kaplan, Hecker & Fink or any

     6 internal or external expert or consultant concerning CSAM, nonconsensual,

     7 prohibited, or illegal content.

     8 Response to Request No. 47:

     9        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    10 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    11 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    12 communications or other documents that are protected by the attorney-client

    13 privilege, work product doctrine, or any other applicable privilege or immunity.

    14 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    15 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    16 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    17 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    18 seeks information that can be obtained from a more convenient and less expensive

    19 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    20 interprets Request No. 41 to the MindGeek Corporate Defendants to seek the same

    21 information as this Request, and it would be unreasonably expensive and

    22 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    23 duplicate the search of the MindGeek Corporate Defendants.

    24 Request No. 48:

    25        The list of content MindGeek provided to NCMEC as reported in the June
    26 20, 2022 New Yorker magazine, and the associated dates of upload; URL’s; IP

    27 addresses; uploader identifiers; associates tags, descriptions, titles, comments, and

    28 categories; engagement and other monitoring metrics; and data and information

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     1 concerning any review, moderation, screening, modification, tracking, complaints,

     2 deletion, or revenue generation associated with such content.

     3 Response to Request No. 48:

     4        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     5 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     6 custody, or control. Moreover, Mr. Antoon objects to the extent this Request seeks

     7 information beyond the scope of the jurisdictional discovery authorized by the

     8 Court’s July 29 Order. Mr. Antoon further objects to this Request to the extent it

     9 seeks documents outside the Relevant Time Period. Mr. Antoon also objects to

    10 this Request to the extent it seeks information that can be obtained from a more

    11 convenient and less expensive source, namely, the MindGeek Corporate

    12 Defendants. Indeed, Mr. Antoon interprets Request No. 42 to the MindGeek

    13 Corporate Defendants to seek the same information as this Request, and it would

    14 be unreasonably expensive and disproportionate to the needs of the case to require

    15 Mr. Antoon, an individual, to duplicate the search of the MindGeek Corporate

    16 Defendants.

    17 Request No. 49:

    18        All documents or communications concerning any internal or external
    19 review of MindGeek content for CSAM, non-consensual, prohibited, or illegal

    20 content, including, but not limited to, the review undertaken beginning in or about

    21 the end of 2020 and the beginning of 2021 and the review that led to the report to

    22 NCMEC that was described in the June 20, 2022 New Yorker magazine.

    23 Response to Request No. 49:

    24        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    25 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    26 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    27 communications or other documents that are protected by the attorney-client

    28 privilege, work product doctrine, or any other applicable privilege or immunity.

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     1 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     2 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     3 Among other things, this Request is not limited to Pornhub, which is the only

     4 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

     5 Antoon further objects to this Request to the extent it seeks documents outside the

     6 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     7 seeks information that can be obtained from a more convenient and less expensive

     8 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     9 interprets Request No. 43 to the MindGeek Corporate Defendants to seek the same

    10 information as this Request, and it would be unreasonably expensive and

    11 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    12 duplicate the search of the MindGeek Corporate Defendants.

    13 Request No. 50:

    14        All documents or communications related to the purchase, upload, or
    15 distribution of content to any MindGeek platform or MindGeek Tubesite, any

    16 MindGeek Related Entity, or any person or entity working for MindGeek or a

    17 MindGeek related entity.

    18 Response to Request No. 50:

    19        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    20 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    21 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    22 communications or other documents that are protected by the attorney-client

    23 privilege, work product doctrine, or any other applicable privilege or immunity.

    24 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    25 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    26 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    27 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    28 seeks information that can be obtained from a more convenient and less expensive

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     1 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     2 interprets Request No. 44 to the MindGeek Corporate Defendants to seek the same

     3 information as this Request, and it would be unreasonably expensive and

     4 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

     5 duplicate the search of the MindGeek Corporate Defendants.

     6 Request No. 51:

     7        All documents or communications reflecting agreements or relationships
     8 with any banks, credit card networks, payment processors, or similar entities

     9 concerning the processing of payments for products, services, advertising, or

    10 otherwise through MindGeek’s platforms or websites.

    11 Response to Request No. 51:

    12        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    13 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    14 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    15 communications or other documents that are protected by the attorney-client

    16 privilege, work product doctrine, or any other applicable privilege or immunity.

    17 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    18 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    19 This Request does not even identify the entities or persons whose “agreements or

    20 relationships” it seeks information about. Mr. Antoon further objects to this

    21 Request to the extent it seeks documents outside the Relevant Time Period. Mr.

    22 Antoon also objects to this Request to the extent it seeks information that can be

    23 obtained from a more convenient and less expensive source, namely, the

    24 MindGeek Corporate Defendants. Indeed, Mr. Antoon interprets Request No. 45

    25 to the MindGeek Corporate Defendants to seek the same information as this

    26 Request, and it would be unreasonably expensive and disproportionate to the needs

    27 of the case to require Mr. Antoon, an individual, to duplicate the search of the

    28 MindGeek Corporate Defendants.

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     1 Request No. 52:

     2        All documents concerning communications with the media, news
     3 organizations, journalists, legislators, law enforcement, regulators, quasi-

     4 governmental agencies, media relations companies, the Free Speech Coalition,

     5 5wPR, or on social media platforms either directly, through aliases, or through

     6 agents, surrogates, or other social media participants concerning CSAM,

     7 nonconsensual, prohibited, or illegal content on MindGeek’s platforms or websites

     8 or internal or external news, media or other reports, allegations, or complaints

     9 regarding the same.

    10 Response to Request No. 52:

    11        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    12 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    13 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    14 communications or other documents that are protected by the attorney-client

    15 privilege, work product doctrine, or any other applicable privilege or immunity.

    16 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

    17 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

    18 Mr. Antoon further objects to this Request to the extent it seeks documents outside

    19 the Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    20 seeks information that can be obtained from a more convenient and less expensive

    21 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    22 interprets Request No. 46 to the MindGeek Corporate Defendants to seek the same

    23 information as this Request, and it would be unreasonably expensive and

    24 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    25 duplicate the search of the MindGeek Corporate Defendants.

    26 Request No. 53:

    27        All documents sufficient to show all copyright DCMA take down notices
    28 MindGeek has issued.

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     1 Response to Request No. 53:

     2        Mr. Antoon objects to this Request on the grounds that it is overbroad,
     3 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

     4 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

     5 communications or other documents that are protected by the attorney-client

     6 privilege, work product doctrine, or any other applicable privilege or immunity.

     7 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

     8 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     9 Among other things, this Request is not limited to Pornhub, which is the only

    10 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

    11 Antoon further objects to this Request to the extent it seeks documents outside the

    12 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

    13 seeks information that can be obtained from a more convenient and less expensive

    14 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

    15 interprets Request No. 47 to the MindGeek Corporate Defendants to seek the same

    16 information as this Request, and it would be unreasonably expensive and

    17 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    18 duplicate the search of the MindGeek Corporate Defendants.

    19 Request No. 54:

    20        All documents reflecting DCMA take down notices MindGeek has received
    21 and the responses it made to each.

    22 Response to Request No. 54:

    23        Mr. Antoon objects to this Request on the grounds that it is overbroad,
    24 unduly burdensome, and seeks documents beyond Mr. Antoon’s possession,

    25 custody, or control. Mr. Antoon also objects to this Request to the extent it seeks

    26 communications or other documents that are protected by the attorney-client

    27 privilege, work product doctrine, or any other applicable privilege or immunity.

    28 Moreover, Mr. Antoon objects to the extent this Request seeks information beyond

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     1 the scope of the jurisdictional discovery authorized by the Court’s July 29 Order.

     2 Among other things, this Request is not limited to Pornhub, which is the only

     3 tubesite on which Plaintiff alleges content depicting her was uploaded. Mr.

     4 Antoon further objects to this Request to the extent it seeks documents outside the

     5 Relevant Time Period. Mr. Antoon also objects to this Request to the extent it

     6 seeks information that can be obtained from a more convenient and less expensive

     7 source, namely, the MindGeek Corporate Defendants. Indeed, Mr. Antoon

     8 interprets Request No. 48 to the MindGeek Corporate Defendants to seek the same

     9 information as this Request, and it would be unreasonably expensive and

    10 disproportionate to the needs of the case to require Mr. Antoon, an individual, to

    11 duplicate the search of the MindGeek Corporate Defendants.

    12

    13                          [SIGNATURE PAGE FOLLOWS]
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     1 October 20, 2022

     2                                 Respectfully submitted,
     3                                 /s/ Jason Brown
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     8
                                       Attorneys for Defendant Feras Antoon
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